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 6   Counsel for Movant Stadium Capital LLC
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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
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11   ASIF MEHEDI, Individually and on Behalf of               Case No.: 5:21-cv-06374-BLF
     All Others Similarly Situated,
12                                                            CLASS ACTION
                               Plaintiff,
13                                                            DECLARATION OF LAURENCE D.
           v.                                                 KING IN SUPPORT OF STADIUM
14                                                            CAPITAL LLC’S MOTION FOR
     VIEW, INC. f/k/a CF FINANCE                              APPOINTMENT AS LEAD PLAINTIFF
15   ACQUISITION CORP. II, RAO MULPURI,                       AND APPROVAL OF LEAD COUNSEL
     and VIDUL PRAKASH,
16                                                            Judge: Hon. Beth L. Freeman
                               Defendants.                    Courtroom: 3, 5th Floor
17                                                            Date: January 6, 2022
                                                              Time: 9:00 a.m.
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                                                                                           Case No. 5:21-cv-06374-BLF
                 DECL. OF LAURENCE D. KING ISO MOT. TO APPT. LEAD PLAINTIFF AND APPROVE LEAD COUNSEL
         Case 5:21-cv-06374-BLF Document 31-1 Filed 10/18/21 Page 2 of 2



 1           I, Laurence D. King, hereby declare as follows:

 2           1.      I am a partner at the law firm of Kaplan Fox & Kilsheimer LLP. I respectfully submit

 3   this Declaration in Support of Stadium Capital LLC’s Motion for Appointment as Lead Plaintiff and

 4   Approval of Lead Counsel. If called as a witness, I could and would competently testify thereto to

 5   all facts within my personal knowledge.

 6           2.      Attached hereto as Exhibit 1 is a true and correct copy of the August 18, 2021 Notice

 7   of Pendency of this Class Action on Business Wire in connection with the filing of Mehedi v. View

 8   Inc., et al., 21-cv-06374.

 9           3.      Attached hereto as Exhibit 2 is a true and correct copy of the sworn certification of

10   Stadium Capital LLC, pursuant to the Private Securities Litigation Reform Act of 1995.

11           4.      Attached hereto as Exhibit 3 is a true and correct copy of the chart calculating the

12   losses incurred by Stadium Capital LLC.

13           5.      Attached hereto as Exhibit 4 is a true and correct copy of the firm resume of Kaplan

14   Fox & Kilsheimer LLP.

15           I declare under penalty of perjury under the laws of the State of California that the foregoing

16   is true and correct.

17           Executed this 18th day of October 2021, at Oakland, California.

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19                                                          /s/ Laurence D. King
20                                                              Laurence D. King

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